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 2   Nevada Bar Number 14853
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 5   jared.l.grimmer@usdoj.gov
     Attorneys for the United States
 6
                                  UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,                             Case No. 2:21-mj-00944-DJA

 9                   Plaintiff,                            ORDER
                                                           Stipulation to Extend
                                                           Deadlines to Conduct
10          v.                                             Preliminary Hearing and
                                                           File Indictment (First Request)
11   CRISTIAN HERNANDEZ-CARDENAS,
       aka “Cristian Hernandez Cardenas,”
12     aka “Cristian Cardenas-Hernandez,”
       aka “Cristian Hernandez,”
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       aka “Cristian Cardenas,”
14     aka “Cristian Cardenas Hernandez,”
       aka “Jesus Haro Chavez,”
15
                     Defendant.
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18          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher

19   Chiou, Acting United States Attorney, and Jared L. Grimmer, Assistant United States

20   Attorney, counsel for the United States of America, and Rebecca A. Levy, Assistant

21   Federal Public Defender, counsel for Defendant CRISTIAN HERNANDEZ-

22   CARDENAS, that the Court schedule the preliminary hearing in this case for no earlier

23   than 90 days from the date of the filing of this stipulation. This request requires that the

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1    Court extend two deadlines: (1) that a preliminary hearing be conducted within 14 days of

2    a detained defendant’s initial appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an

3    information or indictment be filed within 30 days of a defendant’s arrest, see 18 U.S.C.

4    § 3161(b).

5           This stipulation is entered into for the following reasons:

6           1.       The United States Attorney’s Office has developed an early disposition

7    program for immigration cases, authorized by the Attorney General pursuant to the

8    PROTECT ACT of 2003, Pub. L. 108-21.

9           2.       The early disposition program for immigration cases is designed to: (1)

10   reduce the number of hearings required in order to dispose of a criminal case; (2) avoid

11   having more cases added to the court’s trial calendar, while still discharging the

12   government’s duty to prosecute federal crimes; (3) reduce the amount of time between

13   complaint and sentencing; and (4) avoid adding significant time to the grand jury calendar

14   to seek indictments in immigration cases, which in turn reduces court costs.

15          3.       The government has made a plea offer in this case that requires defendant to

16   waive specific rights and hearings in exchange for “fast-track” downward departure under

17   USSG § 5K3.1. This offer will be withdrawn if it is not timely accepted before this matter is

18   indicted and before a preliminary hearing is held.

19          4.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

20   preliminary hearing within a reasonable time, but no later than 14 days after the initial

21   appearance if the defendant is in custody . . . .”

22          5.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

23   showing of good cause—taking into account the public interest in the prompt disposition of

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1    criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

2    times . . . .”

3            6.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

4    information or indictment charging an individual with the commission of an offense shall

5    be filed within thirty days from the date on which such individual was arrested or served

6    with a summons in connection with such charges.”

7            7.       Defendant needs additional time to review the discovery and investigate

8    potential defenses to make an informed decision as to how to proceed, including whether

9    to accept the fast-track plea agreement.

10           8.       Accordingly, the parties jointly request that the Court schedule the

11   preliminary hearing in this case no sooner than 90 days from today’s date.

12           9.       Defendant is in custody and agrees to the extension of the 14-day deadline

13   imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

14   § 3161(b), provided that the information or indictment is filed on or before the date ordered

15   pursuant to this stipulation .

16           10.      The parties agree to the extension of that deadline.

17           11.      This extension supports the public interest in the prompt disposition of

18   criminal cases by permitting defendant to consider entering into a plea agreement under the

19   United States Attorney’s Office’s fast-track program for § 1326 defendants.

20           12.      Accordingly, the additional time requested by this stipulation is allowed

21   under Federal Rule of Criminal Procedure 5.1(d).

22           13.      In addition, the parties stipulate and agree that the time between today and

23   the scheduled preliminary hearing is excludable in computing the time within which the

24   defendant must be indicted and the trial herein must commence pursuant to the Speedy

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1    Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

2    § 3161(h)(7)(B)(i) and (iv).

3           14.     This is the first request for an extension of the deadlines by which to conduct

4    the preliminary hearing and to file an indictment.

5           DATED this 8th day of November, 2021.

6                                                    Respectfully Submitted,

7     RENE L. VALLADARES                             CHRISTOPHER CHIOU
      Federal Public Defender                        Acting United States Attorney
8

9     /s/ Rebecca A. Levy                            /s/ Jared L. Grimmer
      REBECCA A. LEVY                                JARED L. GRIMMER
10    Assistant Federal Public Defender              Assistant United States Attorney
      Counsel for Defendant CRISTIAN
11    HERNANDEZ-CARDENAS

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1                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
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3    UNITED STATES OF AMERICA,                            Case No. 2:21-mj-00944-DJA

4                    Plaintiff,                           [Proposed]
                                                          ORDER Order on Stipulation
                                                          to Extend Deadlines to Conduct
5           v.                                            Preliminary Hearing and
                                                          File Indictment
6    CRISTIAN HERNANDEZ-CARDENAS,
       aka “Cristian Hernandez Cardenas,”
7      aka “Cristian Cardenas-Hernandez,”
       aka “Cristian Hernandez,”
8
       aka “Cristian Cardenas,”
9      aka “Cristian Cardenas Hernandez,”
       aka “Jesus Haro Chavez,”
10
                     Defendant.
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13          Based on the stipulation of counsel, good cause appearing, and the best interest of

14   justice being served; the time requested by this stipulation being excludable in computing

15   the time within which the defendant must be indicted and the trial herein must commence

16   pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of

17   Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):

18          IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled

19   on November 22, 2021 at the hour of 4:00 p.m., be vacated and continued to
      February 14, 2022, at 4:00 p.m., Courtroom 3A.
20   __________________________ at the hour of __________.
                         9th
21         DATED this _____ day of November, 2021.

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23                                              HONORABLE DANIEL J. ALBREGTS
                                                UNITED STATES MAGISTRATE JUDGE
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